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14                                 UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16

17   DEMETRIC DI-AZ, OWEN DIAZ, and                   Case No. 3:17-cv-06748-WHO
     LAMAR PATTERSON,
18
                     Plaintiffs,                      AFFIDAVIT OF CIMONE NUNLEY IN
19                                                    SUPPORT OF PLAINTIFF OWEN
            v.                                        DIAZ’S BILL OF COSTS
20
     TESLA, INC. dba TESLA MOTORS, INC.;
21   CITISTAFF SOLUTIONS, INC.; WEST
     VALLEY STAFFING GROUP;
22   CHARTWELL STAFFING SERVICES, INC.;               Judgment Entered: October 19, 2021
     and DOES 1-50, inclusive,                        Trial Date: September 27, 2020
23                                                    Complaint filed: October 16, 2017
            Defendants.
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1           I, Cimone Nunley, hereby declare as follows:
2       1. I am counsel of record for Plaintiff Owen Diaz in this action. The statements in this
3    affidavit are based upon my personal knowledge or review of the records maintained by my firm
4    in the ordinary course of business.
5       2. I submit this affidavit in support of Plaintiff’s Bill of Costs, pursuant to Civil L.R. 54-1(a)
6    and 28 U.S.C. § 1924. The costs and disbursements identified in Plaintiff’s Bill of Costs are
7    correct, were necessarily incurred in the litigation of this case, and allowable by law.
8       3. Filing Fees: Attached hereto as Exhibit 1 is a true and correct copy of a credit card
9    statement sent to the California Civil Rights Law Group (“CCRLG”). Page 3 of this statement
10   reflects a filing fee of $435 paid to Alameda County Superior Court for the filing of the
11   complaint in this matter.
12      4. Service of Process: Attached hereto as Exhibit 2 is a true and correct copy of Invoice
13   No. 8472 from Evan-Allen Services to CCRLG, dated October 25, 2017. This invoice reflects a
14   charge of $65.00 paid for serving the complaint on Defendant Tesla, Inc., dba Tesla Motors, Inc.
15   (“Defendant”). A true and correct copy of a declaration confirming service of the pleadings is
16   attached hereto as Exhibit 3.
17      5. Attached hereto as Exhibit 4 is a true and correct copy of Invoice No. 8484 from Evan-
18   Allen Services to CCRLG, dated June 1, 2018. This invoice reflects a charge of $95.00 paid for
19   service of a deposition subpoena to Pahl & McCay for the deposition of Rovilla Wetle. The
20   declaration of the process server confirming service is attached hereto as Exhibit 5.
21      6. Attached hereto as Exhibit 6 is a true and correct copy of Invoice No. 8504 from Evan-
22   Allen Services to CCRLG, dated November 9, 2018. This invoice reflects a charge of $105.00
23   paid for service of a deposition subpoena on Wayne Jackson. The invoice also reflects charges
24   for (1) unsuccessful attempted service of a subpoena on Jackson’s prior address and (2)
25   unsuccessful attempted service of a deposition subpoena on witness Rothaj Foster. In the
26   exercise of billing judgment Plaintiff does not seek recovery of the costs associated with the
27   unsuccessful service attempts on Foster and Jackson. The completed subpoena is attached hereto
28   as Exhibit 7.


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1        7. Attached hereto as Exhibit 8 is a true and correct copy of Invoice No. 2019011804 from
2    Superior Process Service, Inc. to CCRLG, dated October 3, 2019. This invoice reflects a charge
3    of $110.00 paid for service of a deposition subpoena on Jackelin Delgado. A declaration
4    confirming service is attached hereto as Exhibit 9.
5        8. Attached hereto as Exhibit 10 is a true and correct copy of Invoice No. 8535 from Evan-
6    Allen Services to CCRLG, dated October 25, 2019. This invoice reflects a charge of $115 for
7    service of a deposition subpoena on Erin Marconi, as well as a charge of $225.00, billed at
8    $75.00 per hour, for a three-hour stakeout of Ms. Marconi’s apartment to effect said service. It
9    also reflects a charge of $105.00 for service of a deposition subpoena on Veronica Martinez. The
10   invoice also reflects charges for (1) service of a deposition subpoena on Josue Torres, whom
11   Plaintiff opted not to depose; (2) unsuccessful attempted service of a deposition subpoena on
12   Judy Timbreza; and (3) attempted service of a deposition subpoena on Ramon Martinez 1. In the
13   exercise of billing judgment, Plaintiff does not seek recovery of the costs associated with Torres,
14   who was never deposed in this action; unsuccessful service on Timbreza; and unsuccessful
15   service on Martinez. A declaration reflecting service of the subpoena on Ms. Martinez is attached
16   hereto as Exhibit 11. A declaration reflecting service of the subpoena on Ms. Marconi is
17   attached hereto as Exhibit 12.
18       9. Attached hereto as Exhibit 13 is a true and correct copy of Invoice No. 8564 from Evan-
19   Allen Services to CCRLG. This invoice reflects charges of (1) $85 for service of a trial subpoena
20   on Alfonso Franco; (2) $70 for service of a trial subpoena on Josh Hedges; (3) $75 for service of
21   a trial subpoena on Jeffrey Henry; (4) $65 for service of a trial subpoena on Maggie Crosby; and
22   (5) $105.00 for service of a trial subpoena on Lamar Patterson. Declarations reflecting service on
23   the above-listed witnesses are attached hereto as follows: Exhibit 14 (Alfonso Franco), Exhibit
24   15 (Josh Hedges), Exhibit 16 (Jeffrey Henry), Exhibit 17 (Maggie Crosby), and Exhibit 18
25   (Lamar Patterson).
26       10. Attached hereto as Exhibit 19 is a true and correct copy of Invoice No. 8567 from Evan-
27   Allen Services to CCRLG dated September 27, 2021. This invoice reflects a charge of $75.00 for
28

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      After the subpoena was served, the recipient contacted CCRLG to explain he was not the Ramon Martinez Plaintiff
     sought to serve.
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1    discerning Monica DeLeon’s whereabouts and a charge of $115.00 for service of a trial
2    subpoena on Ms. DeLeon. A declaration reflecting service of the subpoena on Ms. DeLeon is
3    attached hereto as Exhibit 20.
4       11. Attached hereto as Exhibit 21 is a true and correct copy of a receipt for payment of
5    Invoice No. 20104641 from First Legal Network to CCRLG. This receipt reflects a charge of
6    $193.20 for service of a subpoena for documents on nextSource. A declaration reflecting service
7    of the subpoena on nextSource is attached hereto as Exhibit 22.
8       12. Reporter’s Transcripts: Attached hereto as Exhibit 23 is a true and correct copy of
9    Invoice No. 202100853 from this Court to CCRLG, dated October 5, 2021. This invoice reflects
10   a charge of $3,632.25 paid to this Court for daily trial transcripts.
11      13. Section 1920 (28 U.S.C. § 1920(2)) permits a prevailing party to recover transcripts
12   "necessarily obtained for use in the case." Vectren Communications Svcs. v. City of Alameda,
13   Case No. C-08-3137-SI, 2014 WL 3612754 (N.D. Cal. Jul. 22, 2014) (permitting recovery of
14   transcript costs for use in the case under Section 1920). Transcripts are necessarily obtained
15   where they are used for "trial briefing" and "motions for judgment as a matter of law." Golden
16   Bridge Technology, Inc. v. Apple, Inc., Case No. 5:12-cv-04882-PSG, 2015 WL 13427805 (N.D.
17   Cal Dec. 21, 2015) (holding transcript costs allowable where party used transcripts for trial
18   briefing, motion for judgment as a matter of law, and trial objections in patent action). The
19   transcripts in this case were necessarily obtained under Section 1920. During trial, Tesla filed
20   both a motion to strike the testimony of Dr. Anthony Reading, Plaintiff’s psychological expert
21   (Dkt. 281) and a motion for judgment as a matter of law. (Dkt. 282) Tesla filed portions of the
22   trial transcript as evidence in support of both motions. (Dkt. 281-1; 282-1) Plaintiff thus had to
23   file portions of the trial transcript as evidence to rebut Tesla’s arguments. (Dkt. 286-1; 287-1) In
24   ruling on both motions, the Court cited to the portions of the transcript highlighted by Plaintiff’s
25   counsel. (Dkt. 303 at 4:26-5:5; 8:13-17) These transcripts were necessarily obtained for use in
26   opposing Defendant’s motions during trial, and relied upon by the Court in ruling on
27   Defendant’s motion. Accordingly, recovery of these costs should be permitted.
28      14. Deposition Transcripts, Video Recordings, and Reporter Attendance Fees: Attached
     hereto as Exhibit 24 is a true and correct copy of Invoice No. 19975** from Chase Litigation

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1    Services to CCRLG dated May 29, 2018. This invoice reflects a charge of $1,947.05 paid for
2    Volume 1 of the deposition transcript of Demetric Di-az in this matter. Mr. Di-az’s deposition
3    was necessary because Plaintiff (1) witnessed at least one incident of harassment directed at Mr.
4    Di-az, and (2) learned about other incidences of harassment in Defendant’s factory from Mr. Di-
5    az. Both parties designated Mr. Di-az as a trial witness (Dkt. 237 p. 2) and ultimately relied on
6    video recordings of Mr. Di-az’s deposition testimony at trial. (Dkt. 252, 256, 277)
7       15. Attached hereto as Exhibit 25 is a true and correct copy of Invoice No. 19979** from
8    Chase Litigation Services to CCRLG dated May 29, 2018. This invoice reflects a charge of
9    $2,183.55 paid for Volumes 1 of the deposition transcript of Owen Diaz in this matter.
10   Defendant noticed this deposition.
11      16. Attached hereto as Exhibit 26 is a true and correct copy of Invoice No. 80474 from
12   Bridget Mattos and Associates to CCRLG dated June 19, 2018. This invoice reflects a charge of
13   $1,460.75 paid for the deposition transcripts of Javier Caballero and Victor Quintero in this
14   matter, and a charge of $83.50 paid for reproductions of the deposition exhibits. Mr. Caballero’s
15   deposition was necessary because Mr. Caballero racially harassed Plaintiff’s son while Plaintiff
16   watched, thus requiring Plaintiff to conduct discovery into Mr. Caballero’s conduct. Mr.
17   Quintero’s deposition was necessary because he was Plaintiff’s second-level manager. Mr.
18   Quintero addressed Plaintiff’s claims of racial harassment, and both parties identified Mr.
19   Quintero as a trial witness. (Dkt. 237 p. 7)
20      17. Attached hereto as Exhibit 27 is a true and correct copy of Invoice No. 80478 from
21   Bridget Mattos and Associates to CCRLG dated June 19, 2018. This invoice reflects a charge of
22   $1,443.75 paid for the deposition transcript of Rovilla Wetle in this matter, and a charge of
23   $83.50 paid for reproduction of the deposition exhibits. Ms. Wetle’s deposition testimony was
24   necessary because she was responsible for addressing Mr. Di-az’s complaints of racial
25   harassment, some of which Plaintiff witnessed.
26      18. Attached hereto as Exhibit 28 is a true and correct copy of Invoice No. 21625** from
27   Chase Litigation Services to CCRLG dated December 7, 2018. This invoice reflects a charge of
28   $921.60 paid for Volume 2 of the deposition transcript of Demetric Di-az in this matter.
     Defendant noticed this deposition.

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1       19. Attached hereto as Exhibit 29 is a true and correct copy of Invoice No. 21622** from
2    Chase Litigation Services to CCRLG dated December 7, 2018. This invoice reflects a charge of
3    $1,198.05 paid for Volume 2 of the deposition transcript of Owen Diaz in this matter.
4       20. Attached hereto as Exhibit 30 is a true and correct copy of Invoice No. 7167 from
5    Bridget Mattos and Associates to CCRLG dated December 19, 2018. This invoice reflects a
6    charge of $1,491.30 paid for the deposition transcript of Monica De Leon in this matter, as well
7    as a $345 reporter’s fee and $146.00 paid for reproductions of the deposition exhibits. Ms.
8    DeLeon’s deposition testimony was necessary because she supervised Plaintiff through a staffing
9    company, CitiStaff. Ms. DeLeon also provided essential testimony regarding the relationship
10   between Tesla and various staffing agencies, like CitiStaff. The information provided by Ms.
11   DeLeon was invaluable to rebutting Defendant’s primary defense, that Plaintiff was not its
12   employee. (See, e.g., Dkt. 287) Additionally, Tesla and Plaintiff both identified Ms. DeLeon as a
13   trial witness (Dkt. 237 p. 2).
14      21. Attached hereto as Exhibit 31 is a true and correct copy of Invoice No. 7639 from
15   Bridget Mattos and Associates to CCRLG dated December 26, 2018. This invoice reflects a
16   charge of $1,209.15 paid for the deposition transcript of Edward Romero in this matter, as well
17   as a $250 reporter’s fee and $104.75 paid for reproduction of the deposition exhibits. Mr.
18   Romero’s deposition was necessary because he supervised Plaintiff, received Plaintiff’s
19   complaints of harassment, and handled said complaints. Both parties identified Romero as a trial
20   witness. (Dkt. 237 p. 7)
21      22. Attached hereto as Exhibit 32 is a true and correct copy of Invoice No. 7748D from
22   Bridget Mattos and Associates to CCRLG dated May 3, 2019. This invoice reflects a charge of
23   $999.50 paid for the deposition transcript of Teresa Kossayian in this matter, as well as a $250
24   reporter’s fee and $183.50 paid for reproductions of the deposition exhibits. Ms. Kossayian’s
25   testimony was necessary because she was identified as the person most knowledgeable with
26   respect to West Valley Staffing Group, Inc.’s response to Mr. Di-az’s complaints of racial
27   harassment. She also provided testimony regarding the relationship between Defendant and the
28   various staffing companies present in its factory. Plaintiff identified Ms. Kossayian as a trial
     witness (Dkt. 237 p. 5)

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1       23. Attached hereto as Exhibit 33 is a true and correct copy of Invoice No. 7807 from
2    Bridget Mattos and Associates to CCRLG dated May 23, 2019. The invoice reflects a “no-show”
3    charge of $250.00 because Mr. Kawasaki did not appear at the noticed date and time, though
4    CCRLG issued a subpoena and Mr. Kawasaki acknowledged its receipt on May 17, 2019. A
5    copy of the subpoena is attached hereto as Exhibit 34. Mr. Kawasaki’s testimony was necessary
6    because he supervised Plaintiff, investigated some of Plaintiff’s complaints of racial harassment,
7    and testified regarding other incidences of racial harassment in Defendant’s factory. Both parties
8    identified Mr. Kawasaki as a trial witness. (Dkt. 237 p. 5)
9       24. Attached hereto as Exhibit 35 is a true and correct copy of Invoice No. 8150 from
10   Bridget Mattos and Associates to CCRLG dated June 18, 2019. This invoice reflects a charge of
11   $866.50 paid for the deposition transcript of Wayne Jackson in this matter, as well as a $125
12   reporter’s fee and $104.75 paid for reproductions of the deposition exhibits. Mr. Jackson’s
13   testimony was necessary because he oversaw some aspects of Plaintiff’s work at Tesla, including
14   investigations of Plaintiff’s complaints of racial harassment. Mr. Jackson also provided
15   testimony regarding the relationship between Defendant and the various Both parties identified
16   Mr. Jackson as a trial witness. (Dkt. 237 p. 4)
17      25. Attached hereto as Exhibit 36 is a true and correct copy of Invoice No. 8119-DC from
18   Bridget Mattos and Associates to CCRLG dated June 18, 2019. This invoice reflects a charge of
19   $956.25 paid for the deposition transcript of Annalisa Heisen in this matter, as well as a $250
20   reporter’s fee and $163.25 paid for reproductions of the deposition exhibits. Ms. Heisen’s
21   testimony was necessary, because Tesla identified her as its Person Most Knowledgeable with
22   respect to Plaintiff’s complaints and Defendant’s policies and procedures with respect to racial
23   harassment and discrimination. Both parties identified Ms. Heisen as a trial witness (Dkt. 237 p.
24   4) After Ms. Heisen gave birth during trial, both parties identified and relied on video recordings
25   of her deposition testimony at trial. (Dkt. 265, 271)
26      26. Attached hereto as Exhibit 37 is a true and correct copy of Invoice No. 22736** from
27   Chase Litigation Services to CCRLG dated June 18, 2019. This invoice reflects a charge of
28   $617.00 paid for the video of Volume 1 of Owen Diaz’s deposition.


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1        27. Attached hereto as Exhibit 38 is a true and correct copy of Invoice No. 22737** from
2    Chase Litigation Services to CCRLG dated June 18, 2019. This invoice reflects a charge of
3    $342.50 paid for the video of Volume 2 of Owen Diaz’s deposition.
4        28. Attached hereto as Exhibit 39 is a true and correct copy of Invoice No. 36482 from First
5    Legal Depositions to CCRLG dated June 28, 2019. This invoice reflects a charge of $420.60 paid
6    for the deposition transcript of La’Drea Jones in this matter, as well as $8.25 paid for
7    reproductions of the deposition exhibits. Ms. Jones’s deposition was necessary, because Plaintiff
8    identified Ms. Jones as an emotional distress witness in initial disclosures as well as identifying
9    her as a trial witness. (Dkt. 237 p. 5)
10       29. Attached hereto as Exhibit 40 is a true and correct copy of Invoice No. 36439 from First
11   Legal Depositions to CCRLG dated June 28, 2019. This invoice reflects a charge of $978.60 paid
12   for the deposition transcript of Titus McCaleb in this matter, as well as $31.35 paid for
13   reproductions of the deposition exhibits. Plaintiff identified Mr. McCaleb as a witness in initial
14   disclosures and for trial. (Dkt. 237 p. 6) Mr. McCaleb worked at Tesla 8 months after Plaintiff
15   left and could testify to the company’s inadequate remedial responses to racial harassment.
16       30. Attached hereto as Exhibit 41 is a true and correct copy of Invoice No. INV1514889
17   from Esquire Deposition Solutions to CCRLG dated July 9, 2019. This invoice reflects a charge
18   of $843.50 paid for Volume 3 of the deposition transcript of Owen Diaz in this matter, as well as
19   $54.85 paid for reproductions of the deposition exhibits.
20       31. Attached hereto as Exhibit 42 is a true and correct copy of Invoice No. 8199 from
21   Bridget Mattos and Associates to CCRLG dated July 18, 2019. This invoice reflects a charge of
22   $757.25 paid for the deposition transcript of Michael Wheeler in this matter, as well as a $125.00
23   reporter’s fee and $50.00 paid for reproductions of the deposition exhibits. Mr. Wheeler’s
24   deposition was necessary because Mr. Wheeler was Plaintiff’s coworker and assisted in the
25   investigation of one of Plaintiff’s complaints, in addition to telling Plaintiff about other
26   incidences of harassment. Plaintiff identified Mr. Wheeler as a trial witness. (Dkt. 237 p. 8)
27       32. Attached hereto as Exhibit 43 is a true and correct copy of Invoice No. 8204 from
28   Bridget Mattos and Associates to CCRLG dated July 18, 2019. This invoice reflects a charge of
     $823.75 paid for the deposition transcript of Ludivina Ledesma in this matter, as well as a

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1    $125.00 reporter’s fee and $81.50 paid for reproductions of the deposition exhibits. Ms.
2    Ledesma’s deposition was necessary because CitiStaff, one of Plaintiff’s joint employers,
3    identified Ms. Ledesma as its person most knowledgeable with respect to Plaintiff’s complaints
4    of harassment and the relationship between CitiStaff and Tesla.
5       33. Attached hereto as Exhibit 44 is a true and correct copy of Invoice No. 8209 from
6    Bridget Mattos and Associates to CCRLG dated July 18, 2019. This invoice reflects a charge of
7    $1,170.50 paid for the deposition transcript of Kevin McGinn in this matter, as well as a $250.00
8    reporter’s fee and $167.00 paid for reproductions of the deposition exhibits. Mr. McGinn’s
9    deposition was necessary because nextSource, one of Plaintiff’s joint employers, identified Mr.
10   McGinn as its person most knowledgeable with respect to Plaintiff’s complaints of harassment
11   and the relationship between nextSource and Tesla. Both parties identified Mr. McGinn as a
12   witness (Dkt. 237 p. 6), and designated portions of Mr. McGinn’s videotaped deposition to be
13   played at trial. (Dkt. 194)
14      34. Attached hereto as Exhibit 45 is a true and correct copy of Invoice No. 29151 from
15   Chase Litigation Services to CCRLG dated August 13, 2019. This invoice reflects a charge of
16   $737.50 paid for the deposition transcript of Lamar Patterson in this matter and $74.25 paid for
17   reproductions of the deposition exhibits. Mr. Patterson’s deposition was necessary because Mr.
18   Patterson was Plaintiff’s coworker and provided testimony about racial harassment at
19   Defendant’s factory during the time Plaintiff worked there. Defendant noticed this deposition.
20      35. Attached hereto as Exhibit 46 is a true and correct copy of Invoice No. C11701 from
21   First Legal Depositions to CCRLG dated August 9, 2019. This invoice reflects a charge of
22   $928.04 paid for the deposition transcript of Demetrica Holmes Diaz in this matter. Ms. Holmes
23   Diaz’s deposition testimony was necessary because Plaintiff identified Ms. Holmes Diaz as an
24   emotional distress witness in pretrial disclosures.
25      36. Attached hereto as Exhibit 47 is a true and correct copy of Invoice No. A191076 dated
26   October 26, 2019 to Alexander Morrison + Fehr LLP (“AMFLLP”, formerly Alexander Krakow
27   + Glick LLP), attorneys of record for Plaintiff Owen Diaz in this matter. This invoice reflects a
28   charge of $1,855.52 paid for the deposition and transcript of Erin Marconi in this matter,
     including a $78.00 reporter’s fee and $68.60 paid for reproductions of the deposition exhibits.

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1    Ms. Marconi’s testimony was necessary because she worked in Defendant’s HR department and
2    received and addressed Plaintiff’s complaints of racial harassment. Both parties identified Ms.
3    Marconi as a trial witness. (Dkt. 237 p. 6)
4       37. Attached hereto as Exhibit 48 is a true and correct copy of Invoice No. 8461 from
5    Bridget Mattos and Associates to CCRLG dated November 7, 2019. This invoice reflects a
6    charge of $624.25 paid for the deposition transcript of Tamotsu Kawasaki in this matter, as well
7    as a $125.00 reporter’s fee and $50.75 paid for reproductions of the deposition exhibits.
8       38. Attached hereto as Exhibit 49 is a true and correct copy of Invoice No. 8466 from
9    Bridget Mattos and Associates to CCRLG dated November 7, 2019. This invoice reflects a
10   charge of $553.00 paid for the deposition transcript of Jackelin Delgado in this matter, as well as
11   a $200.00 reporter’s fee and $56.00 for reproduction of the deposition exhibits. Ms. Delgado’s
12   deposition was necessary because she worked for Chartwell Staffing Services, Inc., the employer
13   of Plaintiff’s harasser, Ramon Martinez. Ms. Delgado interviewed Plaintiff following Plaintiff’s
14   January 2016 complaint of racial harassment. Both parties identified Ms. Delgado as a trial
15   witness (Dkt. 237 p. 2)
16      39. Attached hereto as Exhibit 50 is a true and correct copy of Invoice No. 4789w10 from
17   Torreano Shorthand Reporting Corporation to CCRLG dated November 6, 2019. This invoice
18   reflects a charge of $224.70 paid for the deposition transcript of Andres Donet in this matter, as
19   well as a $120.00 reporter’s fee and a $2.00 charge for reproduction of the deposition exhibits.
20   Mr. Donet’s testimony was necessary because he worked for Defendant and was responsible for
21   removing graffiti from the bathrooms near where Plaintiff worked, including at least one incident
22   where he removed the racial slur “nigger” from the bathroom walls. Both parties identified Mr.
23   Donet as a trial witness. (Dkt. 237 p. 3)
24      40. Attached hereto as Exhibit 51 is a true and correct copy of Invoice No. 8456 from
25   Bridget Mattos and Associates to CCRLG dated November 7, 2019. This invoice reflects a
26   charge of $690.75 paid for the deposition transcript of Veronica Martinez in this matter, as well
27   as a $125.00 reporter’s fee and $53.00 paid for reproductions of the deposition exhibits. Ms.
28   Martinez’s testimony was necessary because she interviewed Plaintiff’s harasser, Ramon


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1    Martinez, following Plaintiff’s January 2016 complaint of harassment. Defendant identified Ms.
2    Martinez as a trial witness. (Dkt. 237 p. 6)
3        41. Attached hereto as Exhibit 52 is a true and correct copy of Invoice No. 176146 from
4    TSG reporting to CCRLG dated March 17, 2020. This invoice reflects a charge of $359.60 paid
5    for the deposition transcript of Expert Charles Mahla, PhD, in this matter, as well as $158.55
6    paid for reproductions of the deposition exhibits. Mr. Mahla’s deposition testimony was
7    necessary because Mr. Mahla was Plaintiff’s retained economic expert, whom Plaintiff identified
8    as a trial witness. (Dkt. 237 p. 5) Defendant noticed this deposition.
9        42. Attached hereto as Exhibit 53 is a true and correct copy of Invoice No. 18844 from
10   Synchron Voice and Video Inc. to AMFLLP dated September 2, 2020. This invoice reflects a
11   charge of $100.08 paid for synchronized video recordings of the deposition of Michael Wheeler
12   in this matter.
13       43. Attached hereto as Exhibit 54 is a true and correct copy of Invoice No. 20665 from
14   Synchron Voice and Video Inc. to AMFLLP dated October 4, 2020. This invoice reflects charges
15   of (1) $243.08 paid for synchronized video recordings of the deposition of Monica DeLeon, (2)
16   $32.29 paid for synchronized video recordings of the deposition of Andres Donet, and (3) $91.24
17   paid for synchronized video recordings of the deposition of Victor Quintero.
18       44. Attached hereto as Exhibit 55 is a true and correct copy of Invoice No. 31856 from
19   Chase Litigation Services to CCRLG dated September 22, 2021. This invoice reflects a charge of
20   $1,532.60 paid for synchronized video recordings of the deposition of Demetric Di-az.
21       45. Attached hereto as Exhibit 56 is a true and correct copy of Invoice No. 340138 from
22   Bridget Mattos and Associates to CCRLG dated September 30, 2021. This invoice reflects
23   charges of (1) $495.00 paid for synchronized video recordings of the deposition of Edward
24   Romero; (2) $225.00 paid for synchronized video recordings of the deposition of Veronica
25   Martinez; (3) $540.00 paid for synchronized video recordings of the deposition of Erin Marconi;
26   (4) $450.00 paid for synchronized video recordings of the deposition of Annalisa Heisen; and (5)
27   $540.00 paid for synchronized video recordings of the deposition of Monica DeLeon.
28       46. Attached hereto as Exhibit 57 is a true and correct copy of Invoice No. 707007 from
     TSG Reporting to CCRLG dated March 25, 2020. This invoice reflects a charge of $724.45 paid

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1    for the deposition transcript of Amy Oppenheimer in this matter, as well as a $171.05 charge for
2    deposition exhibits. Ms. Oppenheimer’s deposition testimony was necessary because she was
3    Plaintiff’s Human Resources expert in this matter, and Plaintiff identified Ms. Oppenheimer as a
4    trial witness. (Dkt. 237 p. 6) Defendant noticed this deposition.
5       47. Attached hereto as Exhibit 58 is a true and correct copy of Invoice No. 707052 from
6    TSG reporting to CCRLG dated March 31, 2020. This invoice reflects a charge of $248.55 paid
7    for the deposition transcript of Dr. Anthony Reading in this matter, as well as a $13.05 charge for
8    reproduction of the deposition exhibits. Dr. Reading’s deposition testimony was necessary
9    because he was Plaintiff’s psychological expert in this matter, and Plaintiff identified Dr.
10   Reading as a trial witness. (Dkt. 237 p. 7) Defendant noticed this deposition.
11      48. Reproduction of Trial Exhibits: Per the Court’s Amended Civil Pretrial Order (Dkt.
12   142) Plaintiff had to prepare and print three copies of each trial exhibit: one for the Court, one
13   for the clerk, and one for the witnesses’ use. Plaintiff’s trial exhibits encompassed a combined
14   785 pages. Printing three copies required the printing of 2,355 pages of documents. Plaintiff
15   requests reimbursement in the reasonable amount of $0.25 per page, for a total of $588.75.
16

17   Dated:    October 2, 2021                        _____/s/ Cimone Nunley___________________
                                                             J. Bernard Alexander
18
                                                             Lawrence A. Organ
19                                                           Navruz Avloni
                                                             Cimone A. Nunley
20                                                           Attorneys for Plaintiff
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                                                             OWEN DIAZ

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